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              In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         No. 16-923V
                                    Filed: October 15, 2018

* * * * * * * * * * * * *
STEPHANIE NWALA and     *
EMMANUEL NWALA, as parents and
                        *                                          UNPUBLISHED
natural guardians of C.N., a minor,
                        *
                        *
         Petitioner,    *                                          Decision on Joint Stipulation;
                        *                                          Oculomotor Nerve Palsy;
v.                      *                                          Hepatitis A (“Hep A”), Measles
                        *                                          Mumps Rubella (“MMR”),
                        *                                          and Varicella Vaccines.
SECRETARY OF HEALTH     *
AND HUMAN SERVICES,     *
                        *
         Respondent.    *
* * * * * * * * * * * * *
Diana Stadelnikas, Esq., Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Gabrielle Fielding, Esq., US Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Roth, Special Master:

       On August 2, 2016, Stephanie and Emmanuel Nwala [“petitioners”] filed a petition for
compensation under the National Vaccine Injury Compensation Program, as parents and natural
guardians of their minor son, C.N.2 Petitioners allege that C.N. developed oculomotor never palsy

1
  Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).


                                                      1
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of the right eye after receiving the hepatitis A, measles mumps rubella (“MMR”), and varicella
vaccinations on January 15, 2014. Stipulation, filed October 15, 2018, at ¶¶ 1-4. Respondent denies
that any of the aforementioned immunizations caused C.N.’s injury. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On October 15, 2018, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

       Respondent agrees to issue the following payment:

           A. A lump sum of $3,000.00 in the form of a check payable to petitioners,
              Stephanie Nwala and Emmanuel Nwala. This amount represents compensation
              for past unreimbursable expenses.

           B. An amount sufficient to purchase the annuity contract described in ¶ 10 of the
              Stipulation, paid to the life insurance company from which the annuity will be
              purchased (the “Life Insurance Company”). The Secretary of Health and Human
              Services agrees to purchase an annuity contract from the Life Insurance Company
              for the benefit of C.N., pursuant to which the Life Insurance Company will agree
              to make three certain lump sum payments to C.N. for all other damages that
              would be available under 42 U.S.C. §300aa-15(a), as follows:

                   a. $49,418.83 payable in a certain lump sum on December 15, 2030,

                   b. $55,226.40 payable in a certain lump sum on December 15, 2033,

                   c. $61,461.02 payable in a certain lump sum on December 15, 2036.

        I adopt the parties’ stipulation attached hereto, and award compensation in the amount and
on the terms set forth therein. The clerk of the court is directed to enter judgment in accordance
with this decision.3

       IT IS SO ORDERED.

                                             s/ Mindy Michaels Roth
                                             Mindy Michaels Roth
                                             Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
                                                2
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